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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                               )
MARSHA SCHERER, derivatively on behalf of                      )
DIODES IN CORPORATED,                                          )
                                                               )
                           Plaintiff,                          )
                                                               )
         v.                                                    )
                                                               )         C.A. No. 13-358-GMS
KEH-SHEW LU, et al.,                                           )
                                                               )
                           Defendants,                         )
-and-                                                          )
                                                               )
DIODES INCORPORATED, a Delaware                                )
Corporation,                                                   )
                                                               )
                           Nominal Defendant                   )
----------------------~-------)
                                                     ORDER

         WHEREAS, on March 5, 2013, the plaintiff Marsha Scherer ("Scherer") filed a

Shareholder Derivative and Class Action Complaint on behalf of Diodes Incorporated

("Diodes") alleging claims for breach of fiduciary duty, waste of corporate assets, and unjust

enrichment against the Diodes Board of Directors ("Defendants") and nominally against Diodes

for improperly granting stock options (D.I. 1); 1




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             The claims were directed to the granting of stock options to Diodes Chief Executive Officer and
President, Keh-Shew Lu ("Lu"). (D.I. 1, 11[ 2-3.) Under Diodes' 2001 Omnibus Equity Incentive Plan ("Incentive
Plan"), only 100,000 stock options could be granted to any plan participant-including Lu-within one calendar
year. (Jd.,-,] 2.) In 2009, the Diodes Compensation Committee issued Lu 222,000 stock options, and in 2010, 2011,
and 2012, the Compensation Committee issued Lu 196,000 options each year. (D.I. 25 at 6.) Although Defendants
contest that these grants were wrongful, the parties do not dispute that the Incentive Plan in place at the time of the
grants, by its terms, limited the number of options to 100,000 per year. (Id. at 5.)
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         WHEREAS, on April 1, 2013, Defendants took action to effectively moot Scherer's

complaint by canceling the options in question (D.I. 25 at 7); 2

         WHEREAS, on April 3, 2013, Diode and Defendants filed Answers to Scherer's

Complaint (D.I. 6; D.I. 7.);

         WHEREAS, on May 8, 2014, Defendants filed a Motion for Judgment on the Pleadings

seeking dismissal ofthe Complaint on the grounds ofmootness (D.I. 9);

         WHEREAS, on May 17, 2013, the parties filed a Stipulation and Proposed Order

whereby Defendants' Motion for Judgment on the Pleadings was withdrawn and the Complaint

would be dismissed as moot, subject to Scherer's filing and adjudication of a motion for an

award of attorneys' fees and costs (D.I. 14);

         WHEREAS, presently before the court is Scherer's Motion for Attorneys' Fees and

Reimbursement of Costs (D.I. 18), filed July 29, 2013, Diodes and Defendants' response thereto

(D.I. 25), filed September 20, 2013, and Scherer's reply (D.I. 28), filed October 11, 2013;

         WHEREAS, Scherer argues that attorneys' fees should be granted under the "substantial

benefit" doctrine3 because the attorneys' efforts in filing the derivative action led to Diodes'

shareholders receiving a substantial benefit4 (D.I. 19 at 6, 11-15);

         WHEREAS, Scherer further argues that Defendants' actions to moot the lawsuit by

cancelling the allegedly improper stock options do not bar an award of attorneys' fees if: (1) the

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           Diodes and Lu reached an agreement whereby Lu would "assert no claim" to the stock options in excess
of 100,000 per year, and the respective grants would be "deemed amended to reflect the . . . 100,000 share
limitation." (D.L 25 at 7.)
         3
           See Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 393-94 (1970); Kahan v. Rosenstie/, 424 F.2d 161, 166-67
(3d Cir. 1970); Ams. Mining Corp. v. Theriault, 51 A.3d 1213, 1252-53 (Del. 2012).
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           Scherer argues that the restoration of the alleged improper stock options as a result of her derivative action
created a common fund valued at $4.9 million for the benefit of Diodes' shareholders. (D.L 19 at 11-12.) Moreover,
Scherer argues that the lawsuit prevented the grant of further improper stock options in the future, saving
approximately $2 million. (Id. at 12-13.) Finally, Scherer argues that the corrective disclosures made by the
Defendants to Diodes' shareholders constituted a non-monetary but nonetheless substantial benefit. (Id. at 13-14.)

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suit was meritorious when filed, (2) the Defendants took action that benefited the corporation

before judicial resolution was achieved, and (3) the resulting corporate benefit was causally

related to the lawsuit5 (!d. at 7-15);

         WHEREAS, Scherer finally argues that requested attorneys' fees are reasonable6 (!d. at

15-20);

         WHEREAS, Defendants argue that (1) Scherer's lawsuit was not meritiorous when filed 7

(D.I. 25 at 10-11), (2) the litigation did not result in a substantial benefit to Diodes 8 (!d. at 11-

15), and (3) the requested fees are not reasonable9 (!d. at 15-19).

         WHEREAS, having considered the party's positions as set forth in their papers, the

pleadings, as well as the applicable law;

         IT IS HEREBY ORDERED that:
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             Allied Artists Pictures Corp. v. Baron, 413 A.2d 876, 878 (Del. 1980).
         6
           Scherer argues the total value of the cancelled stock options was $4.9 million, plus the additional $2
million for the potential excess grants in the future-$6.9 million. (D.I. 19 at 12-13). Scherer seeks 25% of this total
value as fees, for $1,725,000. Additionally, Scherer seeks $250,000 attributable to the enhanced corporate
disclosures. (Id. at 18.) Finally, Scherer requests $15,045 in actual attorney expenses. (Id. at 19). The aggregate sum
sought by Scherer is $1,990,045.
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          Defendants argue the lawsuit was not meritorious when filed because Scherer failed to present demand or
plead demand futility with particularity. See Fed. R. Civ. P. 23.1; Kanter v. Barella, 489 F.3d 170, 174 (3d Cir.
2007). More narrowly, Defendants argue that Scherer's claim for excess options issued in 2009 was barred by the
statute of limitations and therefore was not meritorious. (D.I. 25 at 11.) Indeed, in her Complaint, Scherer
acknowledged that the 2009 options were not at issue because of the relevant statute oflimitations. (D.I. 1, ~ 33 n.l.)
         8
           Defendants argue that only Diodes' shareholders received a benefit as a result of the cancellation ofLu's
stock options, and not Diodes itself, as required by the case law. (D.I. 25 at 11-12); see Baron, 413 A.2d at 878.
Defendants' expert argues that a benefit to the shareholders is separate and distinct from any benefit to the
corporation (D.I. 27 at 14-20.)
          Additionally, Defendants argue that the value of the cancelled options is not substantial and quantifiable.
(D.I. 25 at 12-15.) Specifically, Defendants argue that the true value of the cancelled options must be discounted to
take illiquidity into account (Id. at 14), and that the prospective savings as a result of the lawsuit are too speculative
and not adequately supported (Id. at 15.)
         9
           Defendants argue that the requested fees are unreasonable in light of factors outlined in Sugar/and Indus.,
Inc. v. Thomas, 420 A.2d 142, 149 (Del. 1980) (evaluating the reasonableness of attorneys' fees based on: (1) results
achieved, (2) time and effort expended, (3) relative complexities of the case and the skills applied by counsel, (4)
any contingency factor, and (5) the standing and ability of counsel). (D.I. 25 at 15-19.) Defendants argue that the
actual benefit achieved is minimal because the cancellation of the stock options did not create a true fund out of
which fees could be paid. (Id. at 16-18.) Additionally, the Defendants argue plaintiffs' counsel expended very little
time and effort because the Defendants ultimately mooted the lawsuit without any judicial prompting. (Id. at 18-19.)

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              1. The plaintiffs Motion for Attorneys' Fees and Reimbursement of Costs (D .I. 18)

                  is GRANTED IN PART;

              2. The plaintiff is awarded reasonable attorneys' fees in the amount of$1,245,045; 10


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            The court fmds that Scherer has satisfied each of the elements required to obtain attorneys' fees where
defendants have mooted the lawsuit. See Baron, 413 A.2d at 878. First, there is no dispute that any benefit conferred
was causally connected to Scherer's lawsuit. (D.I. 19 at 14-15.)
         Second, Scherer's claims were meritorious when filed. The complaint sufficiently alleged with particularity
why demand was futile under the Aronson standard. (D.I. 1, '11'1!40--47); Aronson v. Lewis, 473 A.2d 805 (Del. 1984).
Additionally, the inclusion of excess stock options granted in 2009 is permissible, even though the statute of
limitations would have barred litigation on this issue. The lawsuit itself was meritorious when filed because
Scherer's claims expressly excluded the 2009 options. (D.I. 1, 'II 33 n.l.) Nonetheless, the Defendants and Lu
cancelled the 2009 options, so the benefit ultimately conferred upon the Diodes stockholders can take this value into
account.
         Third, the court is not convinced that, in this context, there is any meaningful distinction between benefits
conferred upon the corporation as opposed to the corporation's stockholders. (D.I. 25 at 11-12). Although the
language in Baron specifies "benefit to the corporation," Baron, 413 A.2d at 878, other Delaware cases have not
been so limited in their wording. See, e.g., Sugar/and, 420 A.2d at 144 (examining "the results accomplished for the
benefit of all the shareholders of [the corporation]" (emphasis added)); In re Sauer-Danfoss Inc. S 'holders Litig., 65
A.3d 1116, 1123 (Del. Ch. 2011) ("When a plaintiff pursues a cause of action ... [that] generates benefits for the
corporation or its stockholders, Delaware law calls for the plaintiff to receive an award of attorneys' fees and
expenses .... " (emphasis added)). The court sees no reason to read the Baron standard in the restricted manner
suggested by Defendants. Moreover, the court fmds that the $4.9 valuation of the cancelled stock options is
appropriate, given that this is the figure used by Defendants in their own disclosures. (D.I. 21.)
         Scherer's proposed $2 million in hypothetical savings, however, should be excluded from the award.
Scherer is correct that policies that yield "long-range benefit[s]" to the company may be taken into account in setting
attorneys' fees. (D.I 19 at 13); see Chrysler Corp v. Dann, 223 A.2d 384 (Del. 1966). Nevertheless, all of Scherer's
cited cases focus on the policies themselves and do not support her position that attorneys' fees may be calculated
based on the value of options that may have been but were not actually granted. See Ryan ex rei. Maxim Integrated
Prods. v. Gifford, No. 2213-CC, 2009 Del. Ch. LEXIS 1, at *14-15 (Jan. 2, 2009) (looking at the resulting
"corporate governance reforms designed to prevent future wrongful option grants" in setting appropriate attorneys'
fees (emphasis added)). Indeed, in distinguishing Defendants' Citrix arguments, Scherer herself emphasized the
difference between "actual, unauthorized awards" versus "the hypothetical issuance" of options that "might have
been issued in the future." (D.I. 28 at 6 (emphasis in original)); see La. State Emps. 'Ret. Sys. v. Citrix Sys., Inc., No.
18298, 2001 Del. Ch. LEXIS 115 (Sept. 17, 2001). Scherer's proposed $2 million in savings is too speculative and,
as such, will not be included in the calculus.
         The court agrees that Scherer's attorneys are entitled to a percentage of the $4.9 million "fund" that
resulted from the cancelled stock options. See Ams. Mining Corp., 51 A.3d at 1253. The court recognizes that
Diodes itself recovered no money out of which a percentage could be paid; the cancelled options nonetheless yielded
a common benefit to the stockholders that is sufficient to constitute a common fund. See Goodrich v. E.F. Hutton
Group, Inc., 681 A.2d 1039, 1049 (Del.l996) ("[T]he condition precedent to invoking the common fund doctrine is
a demonstration that a common benefit has been conferred."). In view of Delaware's Sugar/and factors, the court
finds that 20% of the $4.9 million fund is appropriate. See Sugar/and, 420 A.2d at 149. While Scherer's attorneys
are not being "punished for having achieved a quick victory," (D.I. 19 at 19), the court must acknowledge that
Scherer's goals were achieved almost immediately by Defendants' own actions, rather than through judicial
resolution or even settlement. The court, nonetheless, is cognizant of the fact that Scherer's attorneys undertook this
derivative action on a contingency basis and of the risk such actions entail. In its discretion and in light of the cited
case law, the court determines 20% strikes the correct balance under Sugar/and and is reasonable (D.I. 19 at 16-18.)
         Scherer's requested $250,000 award for enhanced disclosures is appropriate. Defendants' assertions that
the disclosures apprising Diodes' stockholders of the cancelled stock options contained no new information and
lacked importance are not supported. (D.I. 25 at 18.) Scherer has presented adequate precedent in support of her

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             3. The clerk of the court is directed to close C.A. No. 13-358-GMS.




Dated: September(_, 2014




request. See In re Sauer-Danfoss, 65 A.3d 1116 at 1136-37 (fmding awards of $400,000--$500,000 appropriate in
cases with "one or two meaningful disclosures").
         Finally, the court will award the attorneys' actual expenses in the amount of $15,045. In sum, the court
approves an award of 20% of the $4.9 million value of the cancelled stock options ($980,000), $250,000 for
enhanced disclosures, and $15,045 for actual expenses-for a total of$1,245,045.



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